Case 4:18-cv-04144-KES Document 34 Filed 05/17/19 Page 1 of 17 PageID #: 172




                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH DAKOTA
                              SOUTHERN DIVISION


    DAVID WILLIAM GIESE,                   Case: 4: 18-cv-04144-KES

                      Petitioner,
                                             GOVERNMENT'S OBJECTIONS TO
    V.                                         MAGISTRATE'S REPORT AND
                                                  RECOMMENDATION
    UNITED STATES OF AMERICA,

                      Respondent.



         On April 23, 2019, the magistrate judge filed a report and recommendation

in this matter. The issue before the magistrate was the United States' pending

motion to dismiss to David William Giese's Motion Under 28 U.S.C. § 2255 to

Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody("§ 2255

motion"). The magistrate narrowed Giese's petition to one issue - "that his trial

counsel was ineffective for failing to assert and pursue a downward departure

based on USSG § 5K2.20." Doc. 28 at 10, n. 2. The magistrate judge determined

that there are disputed issues of fact as to whether counsel's withdrawal of the

objection that the PSR did not contain grounds in support of a downward

departure was deficient and that an evidentiary hearing is required. The

government respectfully submits these objections to the magistrate's report and

recommendation. Doc. 28.1



1
 Entries from the clerk's docket in Giese's underlying criminal prosecution (4: 17-
cr-40019-KES) will be cited as "CR Doc." followed by the docket number and
                                                                          ljPage
Case 4:18-cv-04144-KES Document 34 Filed 05/17/19 Page 2 of 17 PageID #: 173




                              I.    BACKGROUND

      On February 15, 2017, a federal grand jury returned an indictment

charging Giese with bank robbery, in violation of 18 U.S.C. §§ 2 l 13(a) and

2113(d). CR Doc. 2. On August 15, 2017, Giese entered a guilty plea to the

indicted count. CR Docs. 20, 21 & 24. On November 7, 2017, the Court entered

a judgment sentencing Giese to serve a total prison term of 48 months, four years

of supervised release, a $100 special assessment, and $6,900 in restitution. CR

Docs. 33 & 39. Giese did not file a direct appeal. See CR Docket.

      On November 1, 2018, Giese filed a timely motion to vacate, set aside or

correct sentence pursuant to 28 U.S.C. § 2255.       His petition sets forth one

ground: ineffective assistance of counsel. CIV Doc. 1. He argues that counsel

was ineffective for failing to object to paragraph 77 of the PSR (paragraph 78 of

the final PSR) and for withdrawing an objection.     He urges that counsel was

ineffective in failing to argue that Giese was entitled to a downward departure

under USSG §§ 5K2.13 (significantly reduced mental capacity) and 5K2.20

(aberrant behavior). CIV Doc. 1 & 1-1 at 3-10.

      The government moved to dismiss Giese's § 2255 motion on all grounds.

The only allegation in Giese's § 2255 motion that remains is that "his trial

counsel Mr. Horn was ineffective for failing to assert and pursue a downward

departure based on USSG § 5K2.20." Doc. 28 at 10, n.2. The magistrate judge

held that an evidentiary hearing is required because it rejected the government's



page, if applicable. Citations to docket entries in this civil habeas case will be
cited as "Doc." followed by the docket number and page, if applicable.
                                                                         21Page
Case 4:18-cv-04144-KES Document 34 Filed 05/17/19 Page 3 of 17 PageID #: 174




argument that defense counsel's decision to withdraw his objection to the PSR

was trial strategy and concluded there is a credibility issue to resolve because

defense counsel did not comment whether or not he discussed the matter with

his client and Giese alleges defense counsel never discussed the issue with him.

Doc. 28 at 21.

      The magistrate judge also rejected the government's argument that

§ 5K2.20 does not apply because Giese's crime involved significant planning.

Doc. 28 at 22. The magistrate judge agreed that the factual basis in support of

the guilty plea acknowledged that the "planning involved buying the mask" used

during the robbery, "writing the hold-up note, and constructing the box" which

Giese represented to the bank employees was a bomb, and that Giese "told the

PSR author he had considered the robbery for two weeks beforehand." Doc. 28

at 22. However, the magistrate judge concluded these facts were not enough for

significant planning because Giese did not specify to the PSR author "when and

where he took specific acts to put that plan [the robbery] into action." Doc. 28

at 22. The magistrate judge also rejected that Giese's plan involved significant

planning because she concluded, "Taping up a box and putting on a mask is a

pretty rudimentary plan, in this court's opinion." Id.

      The magistrate judge then went on to state, in part, that "[c]ommentary to

the provision [§ 5K2.20] indicates a court should consider (A) the defendant's

mental and emotional conditions; (B) his employment record; (C) his record of

prior good works; (D) his motivation for committing the offense; and (E) efforts to

mitigate the effects of the offense. Doc. 28 at 22 (citing USSG § 5K2.20(b), cmt.
                                                                          3jPage
Case 4:18-cv-04144-KES Document 34 Filed 05/17/19 Page 4 of 17 PageID #: 175




3.) She then proceeded to analyze these factors and concluded that "the facts

are at least arguable in favor of application of§ 5K2.20 to Mr. Giese, or a variance

on similar grounds under 18 U.S.C. § 3553(a)." Doc. 28 at 26.

      The magistrate judge, in part, ultimately denies the government's motion

to dismiss stating:

            Mr. Horn's affidavit does not state that he was aware of a
      departure under§ 5K2.20 or the possibility of a variance on similar
      grounds under § 3553(a) and deliberately decided not to pursue
      those avenues for a reduced sentence. In fact, the reason why the
      PSR author refused to entertain Mr. Horn's objection to the PSR was
      because he did not articulate any grounds for departure. See CR
      Docket No. 29 at p. 2. Giving Mr. Giese the benefit of the doubt,
      although Mr. Horn is an experienced criminal defense lawyer, he
      does not often appear in federal court and does not regularly accept
      criminal appointments in this court. The USSG are detail-specific
      and daunting even to those criminal defense attorneys who interact
      with them every day.

             One possibility may be that Mr. Horn was driving at the very
      type of departure contemplated by§ 5K2.20 with the submission of
      33 supporting letters without knowing of the existence or
      applicability of that USSG provision. Mr. Giese's crime involved
      significant planning. The government has not backed up that mere
      assertion with citation to case law. Mr. Giese has made the
      assertion that his crime qualified for a downward departure under
      § 5K2.20 and he has supported his argument with citation to
      favorable case law. The court finds Mr. Giese has pled enough facts
      to state a claim that is plausible on its fact under Rule 12(b)(6).

Doc. 28 at 27-28.

         II.    OBJECTIONS TO REPORT AND RECOMMENDATION

      Following the filing of a report and recommendation by a magistrate judge,

a party may "serve and file specific written objections to the proposed findings

and recommendations." Fed. R. Civ. P. 72(b)(2). The United States files and

serves the following objections to the magistrate's report and recommendation:
                                                                           41Page
Case 4:18-cv-04144-KES Document 34 Filed 05/17/19 Page 5 of 17 PageID #: 176




      1.    The United States objects to the recommendation that "the facts are

at least arguable in favor of application of§ 5K2.20 to Mr. Giese, or a variance

on similar grounds under 18 U.S.C. § 3553(a)." Doc. 28 at 26.

      2.    The United States objects to the recommendation that the facts of

record do not support that the offense was committed with significant planning.

Doc. 28 at 22.

      3.    The United States objects to the magistrate judge's recommendation

that an evidentiary hearing is required. Doc. 28 at 21, 28.

      4.    The United States objects to the magistrate judge's recommendation

that the motion to dismiss should be denied. Doc. 28 at 28.

                     III.   ARGUMENT AND AUTHORITIES

      The benchmark in evaluating ineffective assistance of counsel claims is

'"whether counsel's performance so undermined the proper functioning of the

adversarial process"' that the outcome of the proceeding . . . cannot be

considered as a just result. Cullen v. Pinholster, 131 S. Ct. 1388, 1403 (2011)

(quoting Strickland v. Washington, 466 U.S. 668, 686 (1984)). The test used to

establish ineffective assistance of counsel was set forth by the Supreme Court in

Strickland v.    Washington, 466 U.S. 668 (1984).       To establish ineffective

assistance of counsel, a defendant must show: (1) his counsel's performance was

deficient, and (2) the deficient performance resulted in prejudice to the

defendant. Premo v. Moore, 562 U.S. 115, 131 S. Ct. 733, 739 (2011); Strickland,

466 U.S. at 686. Both prongs of the Strickland test must be satisfied to prevail

on an ineffective assistance of counsel claim. Williams v. United States, 452 F.3d
                                                                         SI Page
Case 4:18-cv-04144-KES Document 34 Filed 05/17/19 Page 6 of 17 PageID #: 177




1009, 1013 (8th Cir. 2006). See also Government's Memorandum in Support of

its Motion to Dismiss (detailing the applicable law regarding an ineffective

.assistance of counsel claim under Strickland).

      First, to demonstrate deficient performance, a defendant must show

counsel's errors were so "serious that counsel was not functioning as the

'counsel' guaranteed the defendant by the Sixth Amendment." Strickland, 466

U.S. at 687. This requires a showing that counsel's representation fell below an

objective standard of reasonableness.     Id. at 688.   The "reasonableness" of

counsel's conduct is "viewed as of the time of counsel's conduct." Auman v.

United States, 67 F.3d 157, 162 (8th Cir. 1995). A defendant "must identify the

acts or omissions of counsel that are alleged not to have been the result of

reasonable professional judgment." Strickland, 466 U.S. at 690. A court must

then determine whether, under the totality of the circumstances, the acts or

omissions fell outside the wide range of competent assistance, "not whether

[counsel's representation] deviated from the best practices or most common

custom." Id.; Premo, 131 S. Ct. at 740. In making this determination, there is

a strong presumption counsel provided adequate assistance.      Strickland, 466

U.S. at 690.

      Once a defendant has shown deficient performance, he must then

affirmatively show prejudice.   Strickland, 466 U.S. at 687, 693. A defendant

must show more than the error complained of had some effect on the outcome.

Id. at 693. A defendant must show there is a reasonable probability the results

of the proceedings would have been different but for counsel's deficient
                                                                       6JPage
Case 4:18-cv-04144-KES Document 34 Filed 05/17/19 Page 7 of 17 PageID #: 178




performance, that is, "a probability sufficient to undermine the confidence in the

outcome." Id. at 694; Cullen, 131 S. Ct. at 1403. A "reasonable probability"

requires a "substantial" likelihood the result would have been different. Allen v.

United States, 854 F.3d 428, 432 (8th Cir. 2017). The burden of establishing

ineffective assistance of counsel is on Giese. United States v. Cronic, 466 U.S.

648, 658 (1984); United States v. White, 341 F.3d 673, 678 (8th Cir. 2003).

      Giese has failed to state a credible claim of ineffective assistance of

counsel. Based upon the record, no hearing is required to dismiss this petition.

      A. OBJECTION 1

      The United States objects to the magistrate judge's recommendation that

"the facts are at least arguable in favor of application of§ 5K2.20 to Mr. Giese,

or a variance on similar grounds under 18 U.S.C. § 3553(a)." Doc. 28 at 26. To

reach this conclusion, she also states that"§ 5K2.20 directs the court to consider

the five factors specified: the defendant's mental and emotional conditions, his

employment record, his record of prior good works, his motivation for committing

the offense, and efforts to mitigate the effects of the offense." Doc. 28 at 23-24

(citing USSG § 5K2.20 cmt. 3).       The magistrate also sets forth that the

"[c]ommentary to the provision indicates a court should consider these five

factors."   Doc. 28 at 22 (emphasis added).   Comment 3 to § 5K2.20 does not

require that these factors be considered but states that the court "may consider"

the aforementioned five factors when "determining whether the court should

depart under this policy statement." USSG § 5K2.20, cmt. 3; see also United

States v. Watson, 454 F. Supp. 2d 271, 275 (E.D. Penn. 2006) (nothing in list of
                                                                         71Page
Case 4:18-cv-04144-KES Document 34 Filed 05/17/19 Page 8 of 17 PageID #: 179




factors at comment 3 to§ 5K2.20 "obligates the court to consider these factors").

Also, if considered, these factors would only potentially be considered by a court

if the requirements of§ 5K2.20(b) are first met and none of the prohibitions of

§ 5K2.20(c) apply. Watson, 454 F. Supp. 2d at 275.

      Based upon the record, one of the prohibitions to§ 5K2.20 applies and so

the magistrate judge's statement that "the facts are at least arguable in favor of

application of§ 5K2.20 to Mr. Giese" is mistaken. Doc. 28 at 26. One of the

prohibitions to the application of § 5K2.20 is if "[t]he defendant discharged a

firearm or otherwise used a firearm or dangerous weapon" "[t]he court may not

depart downward"      pursuant to     policy statement § 5K2.20.       See      USSG

§ 5K2.20(c)(2) (2016); see also United States v. Roberts, 313 F.3d 1050 (8th Cir.

2002) (recognizing that§ 5K2.20 prohibits application to offenses involving use

of a dangerous weapon). Comment 1 to§ 5K2.20 states that the definition used

for "dangerous weapon" and "otherwise used" is the same as the definition used

in the commentary to USSG § 1Bl.1. See§ 5K2.20, cmt. 1. Comment l(D) & (I)

to USSG § 1Bl.1 states:

      "Dangerous weapon" means (i) an instrument capable of inflicting
      death or serious bodily injury; or (ii) an object that is not an
      instrument capable of inflicting death or serious bodily injury but (I)
      closely resembles such an instrument; or (II) the defendant used the
      object in a manner that created the impression that the object was
      such an instrument (e.g. a defendant wrapped a hand in a towel
      during a bank robbery to create the appearance of a gun).
      "Otherwise used" with reference to a dangerous weapon (including
      a firearm) means that the conduct did not amount to the discharge
      of a firearm but was more than brandishing, displaying, or
      possessing a firearm or other dangerous weapon.
USSG 1Bl.1, cmt. l(D) & (I) (2016).
                                                                           81Page
Case 4:18-cv-04144-KES Document 34 Filed 05/17/19 Page 9 of 17 PageID #: 180




      The indictment to which Giese pled guilty, stated, in part, that "David

William Giese did assault a person by the use of a dangerous weapon, that is an

explosive device, in violation of 18 U.S.C. §§ 2113(a) and 2113(d)." CR Doc. 2.

The statement of factual basis in support of the plea states:

      On July 26, 2016, the defendant, David William Giese, robbed the
      Wells Fargo Bank in Yankton, in the District of South Dakota. At
      approximately 4:55 p.m., Defendant Giese entered the bank wearing
      an old man mask and carrying a cardboard box. He approached the
      teller and stated, "Give me all your money. There's a bomb in the
      box." The defendant also handed the teller a handwritten note that
      stated he had a bomb and demanded money. After the teller
      provided cash from the drawer, the defendant left the sealed
      cardboard box on the counter and told all of the bank employees not
      to call the police for 30 minutes; otherwise, the bomb would be
      detonated. The defendant walked out of the bank building and left
      the scene in his vehicle. The money and property of Wells Fargo
      Bank in Yankton was insured by the Federal Deposit Insurance
      Corporation (FDIC). In committing the offense, the defendant did
      threaten to assault a person by the use of a dangerous weapon, that
      is an explosive device, all in violation of 18 U.S.C. § 2113(a) and (d).

CR Doc. 21.

      The indictment and factual basis specifically admit in committing the

offense, Giese used a "dangerous weapon", that is a bomb/ explosive device. CR

Doc. 2, 21. The comment defining dangerous weapon also made clear that the

object, in this case, the box, meets the definition if it is "used ... in a manner

that created the impression that the object was such an instrument" capable of

inflicting death or serious bodily injury. That is exactly how Giese used the box

which he pretended here was a bomb. Giese did more than brandish, display,

or possess the dangerous weapon. Compare United States v. Williams, 71 Fed.

Appx. 197, 199 (4th Cir. 2003) (pointing the gun at the teller meant defendant


                                                                           91Page
Case 4:18-cv-04144-KES Document 34 Filed 05/17/19 Page 10 of 17 PageID #: 181




had "otherwise used" the firearm).      Giese announced he had a bomb, and he

announced that if the employees did not wait 30 minutes to call the police that

the bomb would be detonated. CR Doc. 21. Given that Giese used the box in a

manner to create an impression that it was an instrument capable of inflicting

death or serious bodily injury, the definition of dangerous weapon is met.

      In United States v. Boeka, 2006 WL 3780400 at *6 (D. Neb. Dec. 20, 2006),

the district court concluded that defendant's "Cheez-Its-box-disguised-as-a-

bomb clearly qualifies as a dangerous weapon under the Guidelines.                The

question is whether he can be said to have 'otherwise used' the weapon so as to

prohibit a departure for aberrant behavior." Id. at *6. However, the Court in

Boeka found that defendant did not do more than brandish or display the box.

Id. Here, that is not the case. Similar to pointing a gun in the face of a victim,

see supra Williams, Giese threatened to detonate the bomb if the bank employees

called the police within 30 minutes. CR Doc. 21. That is more than brandishing

and displaying. Therefore, the "dangerous weapon" prohibition at§ 5K2.20(c)(2)

applies, and Giese was not eligible for a downward departure based upon

aberrant behavior under § 5K2.20.            The government's objection to the

magistrate's judge's recommendation to the contrary - that "the facts are at least

arguable in favor of application of§ 5K2.20 to Mr. Giese" - should be sustained,

and this conclusion should not be adopted by the Court.

      The magistrate judge also states in her report and recommendation that

"the facts are at least arguable in favor of application of . . . a variance on similar

grounds under 18 U.S.C. § 3553(a)."          Giese has not raised an ineffective
                                                                             IOI Page
Case 4:18-cv-04144-KES Document 34 Filed 05/17/19 Page 11 of 17 PageID #: 182




assistance of counsel claim based on § 3553(a).          If the "rule of liberal

construction fail[s] to save a broad and conclusory pro se pleading," the same

should hold true when a claim is not even alleged.     Compare Voytik v. United

States, 778 F.2d 1306, 1308 (8th Cir. 1985) (citing Munz v. Parr, 758 F.2d 1254,

1259 (8th Cir. 1985) ("rule of liberal construction failed to save a broad and

conclusory prose pleading"); Grady v. Wilken, 735 F.2d 303, 304 (8th Cir. 1984)

("court affirmed dismissal of pro se complaint based on broad and conclusory

factual allegations")). The magistrate judge specifically sets forth that Giese's

ineffective assistance of counsel claim "asserts his trial counsel Mr. Horn was

ineffective for failing to assert and pursue a downward departure based on USSG

§ 5K2.20." Doc. 28 at 10. Therefore, any implication that counsel was ineffective

for failing to seek a variance pursuant to § 3553(a) should also be rejected as

that is not the claim that Giese has raised.

      B. OBJECTION 2

      The government's second objection to the magistrate judge's report and

recommendation is that§ 5K2.20 does not apply because the offense involved

significant planning.   The government's underlying brief argued that Giese

cannot establish prejudice because there is not a substantial likelihood that the

result would have been different if counsel had asked for a downward departure

based upon§ 5K2.20. Section 5K2.20 does not apply if the offense is committed

with significant planning. The magistrate judge concludes that Giese's actions

did not constitute significant planning because, although Giese admits in his

factual basis to "buying a mask, writing a hold-up note, and constructing the
                                                                        lllPage
Case 4:18-cv-04144-KES Document 34 Filed 05/17/19 Page 12 of 17 PageID #: 183




box" for the bomb "there is no indication in the factual basis that these acts took

place over the course of two weeks and in different locations." Doc. 28 at 22.

The report and recommendation does acknowledge that "Mr. Giese told the PSR

author he had considered the robbery for two weeks beforehand, but did not

specify when and where he took specific acts to put the plan into action." Id.

The report and recommendation concludes, "Taping up a box and putting on a

mask is a pretty rudimentary plan, in this court's opinion." Id.

       The government's position is that significant planning was involved, and

the findings that significant planning was not involved and that Giese's plan

was rudimentary should be overruled. In Boeka, where defendant used a Cheez-

It box disguised as a bomb, the district court held that "Boeka has not satisfied

the requirement that the offense was committed 'without significant planning."'

Boeka, 2006 WL 3780400 at *7. The Boeka court noted, "The evidence shows

that the defendant planned the event for at least a day and took several

affirmative steps in pursuit of the scheme.     He purchased wire to make the

phony bomb appear more realist and concocted a disguise." Id. Here, Giese

also took affirmative steps. He bought a mask to create a disguise and wrote a

hold-up note.      These facts alone are sufficient to conclude that there was

significant planning. Compare Marquez v. United States, No. 4:07CV361JCH,

2008 WL 4642859 at *6 (E.D. Missouri Oct. 17, 2008) (leasing a vehicle requires

significant planning); Boeka, supra. Add to those facts that prior to the robbery,

Giese stopped at the bank two times a week, talking with most of the employees.

PSR   ,r   16. Defendant planned and brought a box with him that he represented
                                                                         121 Page
Case 4:18-cv-04144-KES Document 34 Filed 05/17/19 Page 13 of 17 PageID #: 184




    was a bomb (CR Doc. 21). During the robbery, Giese threatened to blow up

    bank employees.     PSR   ,r 18.   Giese's robbery was not "without significant

    planning;" therefore, the aberrant behavior downward departure at§ 5K2.20 is

    not available to him, and the government's objection that the record doesn't

    support a finding of significant planning should be sustained. Contrary to the

    conclusion of the magistrate judge, the district court should enter a finding that

    Giese's robbery involved significant planning.

         3. OBJECTION 3

         The government's third objection is to the magistrate's recommendation

that an evidentiary hearing is required. Doc. 28 at 21, 28. The prejudice prong

has not been met under Strickland since USSG § 5K2.20 does not apply, and

accordingly, an evidentiary hearing is not required.

         To establish an ineffective assistance of counsel claim, Giese must meet

both the deficiency and the prejudice element under Strickland.            Camberos-

Villapuda v. United States of America, Case 4: 17-CV-04161-KES, Doc. 22 at 3-5

(D.S.D. May 7, 2019). In considering whether trial counsel was ineffective, the

prejudice analysis "may replace the deficiency inquiry altogether if the lack of

prejudice is apparent." O'Rourke v. Endell, 153 F.3d 560, 570 (8th Cir. 1998)

(citing Strickland, 466 U.S. at 687). 2 "[T]here is no reason for a court deciding an



2
 By failing to address the deficiency analysis as to Grounds 1, the government
is not agreeing that counsel was deficient, but as the Supreme Court has
indicated, both components of the Strickland inquiry do not need to be addressed
"if the defendant makes an insufficient showing on one." Strickland, 466 U.S. at
696.
                                                                            13   IP age
Case 4:18-cv-04144-KES Document 34 Filed 05/17/19 Page 14 of 17 PageID #: 185




ineffective assistance claim to approach the inquiry in the same order or even to

address both components of the inquiry if the defendant makes an insufficient

showing on one." Strickland, 466 U.S. at 696. "If it is easier to dispose of an

ineffectiveness claim on the ground of lack of sufficient prejudice, which we

expect will often be so, that course should be followed." Strickland, 466 U.S. at

696.    To establish prejudice, "'[t]he defendant must show that there is a

reasonable probability that, but for counsel's unprofessional errors, the result of

the proceeding would have been different.         A reasonable probability is a

probability sufficient to undermine confidence in the outcome."' O'Rourke, 153

F.3d at 570 (quoting Strickland, 466 U.S. at 694). The burden is on Giese. United

States v. Cronic, 466 U.S. 648,658 (1984); United States v. White, 341 F.3d 673,

678 (8th Cir. 2003). When considering whether counsel was ineffective, "Every

effort [should] be made to eliminate the distorting effects of hindsight, to

reconstruct the circumstances of counsel's challenged conduct, and to evaluate

the conduct from counsel's perspective at the time." Strickland, 466 U.S. at 689.

       As the magistrate judge notes:

       Where an objection to a PSR, if it had been made and sustained,
       yields the same potential sentence under the USSG, a petitioner
       under § 2255 cannot establish Strickland prejudice as a matter of
       law based on the petitioner's lawyer's failure to lodge the objection.
       See Montanye v. United States, 77 F.3d 226, 230-231 (8th Cir. 1996)
       (where the petitioner was sentenced to 360 months' incarceration,
       and the Guidelines range was 360 months to life under the PSR as
       written, but also the same range if the objection had been made and
       sustained, petitioner could not show prejudice).

Doc. 28 at 19.



                                                                          141Page
Case 4:18-cv-04144-KES Document 34 Filed 05/17/19 Page 15 of 17 PageID #: 186




      Given that significant planning was involved and that a dangerous weapon

 was otherwise used, § 5K2.20 is not applicable, and Giese cannot meet the

 prejudice prong under Strickland.     If§ 5K2.20 does not apply, then defense

 counsel raising it would not have had a substantial impact or any impact on the

 sentence and the prejudice prong cannot be met. Montanye, 77 F.3d at 230-

 231. Giese fails to meet his burden that there is prejudice.

      While an evidentiary hearing may be necessary on a§ 2255 motion if there

 are factual issues to be resolved, "files and records of the case may be sufficient

 alone to dispose of the motion where they 'conclusively show that the prisoner

 is entitled to no relief."' United States v. Goodman, 590 F.2d 705, 710 (8th Cir.

 1979) (citations omitted).     Here the prejudice analysis may replace any

 deficiency analysis if "lack of prejudice is apparent." O'Rourke v. Endell, 153

 F.3d 560, 570 (8th Cir. 1998) (citing Strickland, 466 U.S. at 687). Also, the files

 and records show that Giese is entitled to no relief, so records in the underlying

 matter are sufficient alone to dispose of the motion. Goodman, 590 F.2d at 710.

 Giese must establish both elements under Strickland, given that based upon

 the record§ 5K2.20 does not apply, Giese cannot e~tablish prejudice, Giese is

 not entitled to relief, and no evidentiary hearing is required. The court should

 sustain the government's objection to the magistrate judge's conclusion that an

 evidentiary hearing is required.

      C. OBJECTION 4

      The magistrate's finding that the motion to dismiss should be denied

because Giese is entitled to an evidentiary hearing and the "benefit of the doubt"
                                                                          15/Page
Case 4:18-cv-04144-KES Document 34 Filed 05/17/19 Page 16 of 17 PageID #: 187




should be overruled. Doc. 28 at 27-28. Since Giese is required to establish both

prongs under Strickland, see Williams, 452 F.3d at 1013, and he has not met the

prejudice prong, and an evidentiary hearing is not required, the government's

motion to dismiss should be granted. When considering whether counsel was

ineffective, "Every effort [should] be made to eliminate the distorting effects of

hindsight, to reconstruct the circumstances of counsel's challenged conduct,

and to evaluate the conduct from counsel's perspective at the time." Strickland,

466 U.S. at 689. The magistrate judge's efforts to consider counsel's actions in

hindsight is not a proper approach.       See Doc. 28 at 27-28 (magistrate judge

noting since Mr. Horn does not appear in federal court often he must be unaware

of § 5K2.20 despite that his affidavit discussed § 5K2.20).      The magistrate's

conclusion that the government's motion to dismiss should be denied without

properly evaluating the prejudice prong under Strickland should be overruled,

and the government's motion to dismiss Giese's § 2255 motion in its entirety

should be granted since the prejudice prong under Strickland has not been met.

                                 III. CONCLUSION

      Based upon the foregoing, the § 2255 petition should be dismissed, and

an evidentiary hearing is not required. See United States v. Goodman, 590 F.2d

705, 710 (8th Cir. 1979) ("files and records of the case may be sufficient alone to

dispose of the motion where they 'conclusively show that the prisoner is entitled

to no relief."'), cert. denied, 440 U.S. 985 (1979).




                                                                         16jPage
Case 4:18-cv-04144-KES Document 34 Filed 05/17/19 Page 17 of 17 PageID #: 188




      Date: March 17, 2019.

                               RONALD A. PARSONS, JR.
                               United


                                 s   s
                               Assistant United States Attorney
                               P.O. Box 2638
                               Sioux Falls, SD 57101-2638
                               Telephone: (605) 357-2341
                               Email: Stephanie.Bengford@usdoi.gov


                          CERTIFICATE OF SERVICE


      The undersigned hereby certifies that on May 17, 2019, a true and correct

copy of Government's Objections to the Magistrate Judge's Report and

Recommendation was served upon the following person, by placing the same in

first-class U.S. Mail, postage prepaid, addressed as follows:

      David William Giese
      #16941-273
      MILAN FEDERAL CORRECTIONAL INSTITUTION
      Inmate Mail/Parcels
      P.O. Box 1000
      Milan, MI 48160



                                     STEPHANIE C. BENGFOR
                                     Assistant United States Attorney




                                                                        17JPage
